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                                       [Case caption follow on next page]



     Joint Stipulation To Extend Time                                             5:22-cv-00501-BLF
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                                   UNITED STATES DISTRICT COURT
 1
 2                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

 3                                         SAN JOSE DIVISION
 4
       NATIONAL ASSOCIATION FOR GUN                       Case No. 5:22-cv-00501-BLF
 5     RIGHTS, INC., a non-profit corporation, and
       MARK SIKES, an individual,                         JOINT STIPULATION AND PROPOSED
 6                                                        ORDER (1) EXTENDING TIME TO
 7                   And                                  RESPOND TO DEFENDANTS’ MOTION
                                                          TO DISMISS (ECF # 95); AND (2) JOINT
 8     HOWARD JARVIS TAXPAYERS ASSN., a                   REQUEST FOR A NEW CASE
       nonprofit corporation, SILICON VALLEY              MANAGEMENT SCHEDULING ORDER
 9     TAXPAYERS ASSN., a nonprofit corporation,
10     SILICON VALLEY PUBLIC                              Courtroom: 3-5th Floor
       ACCOUNTABILITY FOUNDATION, a                       Judge: Honorable Beth Labson Freeman
11     nonprofit corporation, JIM BARRY, an
       individual, and GEORGE ARRINGTON, an               Complaint Filed: January 25, 2022
12     individual,
13                   Plaintiffs,
14                   v.
15
       CITY OF SAN JOSE, a public entity,
16     JENNIFER MAGUIRE, in her official capacity
       as City Manager of the City of San Jose, and the
17     CITY OF SAN JOSE CITY COUNCIL,
18
19                   Defendants.

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     Joint Stipulation To Extend Time                                            5:22-cv-00501-BLF
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 1          SUBJECT TO THE COURT’S APPROVAL, and pursuant to L.R. 6-2, the Plaintiffs—National
 2   Association For Gun Rights, Inc., Mark Sikes, Howard Jarvis Taxpayers Assn., Silicon Valley
 3   Taxpayers Assn., Silicon Valley Public Accountability Foundation, Jim Barry, and George Arrington—
 4   and Defendants—City Of San Jose, Jennifer Maguire, in her official capacity as City Manager of the
 5   City of San Jose, and the City Of San Jose City Council—hereby stipulate and agree that the Plaintiffs’
 6   deadline to respond to Defendants’ motion to dismiss (ECF #95) will be March 16, 2023, and the
 7   Defendants’ deadline to reply will be March 30, 2023. This is a two-week extension for both responses
 8   and replies.
 9          The parties also stipulate, agree, and request that the Court vacate each of the future dates set
10   forth in the Case Management Scheduling Order (ECF # 58), which was entered before consolidation.
11   The parties further request that the Court set a Case Management Conference after the Court rules on
12   Defendants’ currently pending Motion to Dismiss the Amended Consolidated Complaint (ECF # 95,
13   96), for the purpose of setting a new trial date and all other attendant dates thereto.
14                                           [Signatures on Next Page]
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     Joint Stipulation To Extend Time                                                          5:22-cv-00501-BLF
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 2   Dated: February 28, 2023           DHILLON LAW GROUP INC.
 3
 4                                               By: _/s/ Harmeet K. Dhillon_________
                                                 Harmeet K. Dhillon
 5
                                                 Michael A. Columbo
 6                                               Mark P. Meuser
                                                 David A. Warrington (pro hac vice)
 7
 8   Dated: February 28, 2023            HOWARD JARVIS TAXPAYERS FOUNDATION
 9
10                                               By: _/s/ Timothy A. Bittle
                                                 Jonathan M. Coupal
11
                                                 Timothy A. Bittle
12                                               Laura E. Dougherty

13
     Dated: February 28, 2023           COTCHETT, PITRE & McCARTHY, LLP
14
15
                                                 By: _/s/ Tamarah P. Prevost_________
16                                               Joseph W. Cotchett
17                                               Tamarah P. Prevost
                                                 Andrew F. Kirtley
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     Joint Stipulation To Extend Time                                         5:22-cv-00501-BLF
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 1                             DECLARATION OF MICHAEL A. COLUMBO
 2
 3          I, Michael A. Columbo, declare that counsel have met and conferred about this stipulation. That
 4   counsel whose signatures are reflected on the preceding page gave approval to this stipulation.
 5
 6          Pursuant to Local Rule 6-2, I further declare that the reasons for the requested enlargement of
 7   time have to do with accommodating the press of business on counsel, that there have been no previous
 8   time modifications in this case, and that I would describe the effect of the time modification requested
 9   here as being minimal.
10
11          I declare under penalty of perjury under the laws of the United States of America that the
12   foregoing is true and correct. Executed on February 28, 2023.
13
14                                                /s/ Michael A. Columbo
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     Joint Stipulation To Extend Time                                                   5:22-cv-00501-BLF
